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                         OFFICIAL ELECTION BULLETIN
                                        May 1, 2020
_____________________________________________________________________________________________


TO: County Election Officials and County Registrars

FROM: Chris Harvey, State Elections Director

RE: Absentee Ballot Signature Review Guidance

______________________________________________________________________

Verifying that a voter’s signature on his or her absentee ballot matches his or her
signature on the absentee ballot application or in the voter registration record is required
by Georgia law and is crucial to secure elections. Ensuring that signatures match is even
more crucial in this time of increased absentee voting due to the COVID-19 crisis. The
purpose of this OEB is to remind you of some recent updates to Georgia law and
regulations regarding verifying signatures on absentee ballots and to make you aware of
the procedures that should be followed when a signature on an absentee ballot does not
match. HB 316, which passed in 2019, modified the absentee ballot laws and the design
of the oath envelope. The State Election Board also adopted Rule 183-1-14.13 this year,
which addresses how quickly and by what methods electors need to be notified
concerning absentee ballot issues. What follows are the procedures that should be
followed when the signature on the absentee ballot does not match the voter’s signature
on his or her application or voter registration record:

       County registrars and absentee ballot clerks are required, upon
       receipt of each mail-in absentee ballot, to compare the signature or
       mark of the elector on the mail-in absentee ballot envelope with the
       signatures or marks in eNet and on the application for the mail-in
       absentee ballot. If the signature does not appear to be valid, registrars
       and clerks are required to follow the procedure set forth in O.C.G.A. §
       21-2-386(a)(1)(C).
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         When reviewing an elector’s signature on the mail-in absentee ballot
         envelope, the registrar or clerk must compare the signature on the
         mail-in absentee ballot envelope to each signature contained in such
         elector’s voter registration record in eNet and the elector’s signature
         on the application for the mail-in absentee ballot.1 If the registrar or
         absentee ballot clerk determines that the voter’s signature on the mail-
         in absentee ballot envelope does not match any of the voter’s
         signatures on file in eNet or on the absentee ballot application, the
         registrar or absentee ballot clerk must seek review from two other
         registrars, deputy registrars, or absentee ballot clerks.

         A mail-in absentee ballot shall not be rejected unless a majority of the
         registrars, deputy registrars, or absentee ballot clerks reviewing the
         signature agree that the signature does not match any of the voter’s
         signatures on file in eNet or on the absentee ballot application. If a
         determination is made that the elector’s signature on the mail-in
         absentee ballot envelope does not match any of the voter’s signatures
         on file in eNet or on the absentee ballot application, the registrar or
         absentee ballot clerk shall write the names of the three elections
         officials who conducted the signature review across the face of the
         absentee ballot envelope, which shall be in addition to writing
         “Rejected” and the reason for the rejection as required under OCGA
         21-2-386(a)(1)(C). Then, the registrar or absentee ballot clerk shall
         commence the notification procedure set forth in O.C.G.A. § 21-2-
         386(a)(1)(C) and State Election Board Rule 183-1-14-.13.




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  Once the registrar or clerk verifies a matching signature, they do not need to continue to review additional
signatures for the same voter.
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RULE 183-1-14-.13 Prompt Notification of Absentee Ballot Rejection

When a timely submitted absentee ballot is rejected, the board of registrars or absentee
ballot clerk shall send the elector notice of such rejection and opportunity to cure by
mailing written notice, and attempt to notify the elector by telephone and email, if a
telephone number or email is on the elector’s voter registration record or absentee ballot
application, no later than the close of business on the third business day after receiving
the absentee ballot. However, for any timely submitted absentee ballot that is rejected
within eleven days of Election Day, the board of registrars or absentee ballot clerk shall
send the elector notice of such rejection and opportunity to cure by mailing written notice,
and attempt to notify the elector by telephone and email, if a telephone number or email
is on the elector’s voter registration record or absentee ballot application, no later than
close of business on the next business day.




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                         OFFICIAL ELECTION BULLETIN
                                    November 12, 2020
_____________________________________________________________________________________________


TO:           County Election Officials and County Registrars

FROM:         Chris Harvey, Elections Division Director

RE:           Audit Instructions

______________________________________________________________________

Pursuant to O.C.G.A. § 21-2-498 and SEB Rule 183-1-15-.04, the Secretary has
selected the contest for President of the United States to audit. While many risk-limiting
audits rely on samples of ballots, the design of risk-limiting audits combined with the
margin of this race mean that this risk-limiting audit is required to be a full manual tally
of the votes cast. SEB Rule 183-1-15-.04 requires that the Superintendent follow
instructions issued by the Secretary of State on how to specifically conduct the audit.
While there will be additional instructions issued regarding more specific processes,
initial instructions are below:

    1. Start and Completion Times
Each county must start their audit no later than 9:00 a.m. on Friday, November 13, 2020
and must complete their audit no later than 11:59 p.m. on Wednesday, November 18,
2020.

Public notice of the date, time, and location of the audit must be posted on the county
election office’s website, or, if the county election’s office does not have a website, in
another prominent location.


    2. Public Access and Political Party Monitors
The audit shall be open to the public and the press, but no person except the persons
designated by the Superintendent shall touch any ballot or ballot container. The
Superintendent shall designate a viewing area from which members of the public and
press may observe the audit for the purpose of good order and maintaining the integrity
of the audit. The Superintendent may also choose to make the audit proceeding
available via livestream or webcast. If any member of the public or press interferes with

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the process or persists in not following reasonable regulations and instructions set by
the Superintendent, that person shall be removed.

The State Executive Committee of each political party (Republicans and Democrats)
shall have the right to have one properly designated person act as monitor of the audit
for each ten audit teams that are conducting the audit, with a minimum of two
designated monitors in each county per party per room where the audit is being
conducted. Properly designated monitors shall have complete access to monitor the
audit. They do not have to remain in the public viewing areas. The designated monitors
shall be given a letter by the designating entity containing the name of the monitor, his
or her address, and the county in which he or she may monitor the audit. A copy of the
letter shall be delivered to the county elections superintendent prior to the monitor being
allowed to monitor the process. The designating entity shall provide their monitors with
name tags that clearly indicate their names and the entity the designated them. Such
name tags shall be worn at all times while monitoring the audit.

The Superintendent may make reasonable regulations, including regulations regarding
social distancing measures and required personal protective equipment, that designated
monitors and public observers shall follow so that they do not interfere with the auditing
process. If a designated monitor or public observer interferes with the audit after being
warned by an election official, or if he or she violated any of the prohibited activities
listed herein, the superintendent may revoke the person’s designation to monitor the
process, remove them from any further monitoring or observing, and refer the incident
to the Secretary of State’s office for investigation. Any infraction or irregularity observed
by a monitor or observer shall be reported to the superintendent or to the Secretary of
State. If a monitor’s designation is revoked by the Superintendent, the designating entity
shall have the right to designate a new monitor in the manner set forth herein.

While monitoring the process, designated monitors are prohibited from:

        (a) In any way interfering with the audit process;

        (b) Speaking to any member of the audit team or vote review panel;

        (c) When outside of the public viewing area, using any photographic, electronic
        monitoring or recording devices, cellular telephones, or other electronic
        equipment;

        (d) Touching any ballot or ballot container; or

        (e) Engaging in any form of campaigning or campaign activity.

Before being allowed to monitor the process, each designated monitor shall execute an
oath swearing or affirming, under penalty of perjury, that they understand the
prohibitions set forth above, that they will not engage in any prohibited activity, and that

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they understand any violations of this rule will be punishable by the State Election
Board.

    3. Audit Teams
Audit teams shall consist of at least two sworn designees. The Superintendent may
designate non-employees to be a member of an audit team, but any non-employees
designated to audit teams shall be residents of the State of Georgia. Every member of
the audit team shall be a person of good moral character and shall take and sign an
oath that they will conduct the audit fairly and accurately prior to conducting the audit. In
determining the candidate for which the vote was cast, the audit teams shall refer to and
rely on SEB Rule 183-1-15-02 (Definition of a Vote) for Optical Scan Voting Systems.

    4. Vote Review Panels
Any ballot where the audit team does not agree on the selection for President shall be
sent to a Vote Review Panel. Each Vote Review Panel shall consist of a designee of the
Election Superintendent and a nominee of the county or state executive committee of
each political party (Republican and Democrat) designated via letter provided to the
Superintendent. Notice of the members and location of any Vote Review Panels shall
be posted prominently at the office of the Superintendent. Prior to beginning its work,
each member of the Vote Review Panel shall take and sign an oath The panel shall
manually review all ballots sent to it by any audit team and shall determine by a majority
vote “if the elector has marked his or her ballot in such a manner that he or she has
indicated clearly and without question the candidate for whom he or she desires to
cast his or her vote.” O.C.G.A. 21-2-438(c). The determination of the Vote Review Panel
shall be final. The Superintendent may create multiple Vote Review Panels

In making its determination, the Vote Review Panel shall refer to and rely on SEB Rule
183-1-15-.02 (Definition of a Vote) for Optical Scan Voting Systems.

    5. Re-Certifying if Vote Counts Change
In cases like this, where the risk-limiting audit of the selected contest has led to a full
manual tally of the ballots cast, the vote counts according to the manual tally shall
replace the vote previously reported vote counts and each county shall re-certify the
new counts for the audited race, if necessary, prior to November 20, 2020.




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                           OFFICIAL ELECTION BULLETIN
                                      November 13, 2020
_____________________________________________________________________________________________


TO:            County Election Officials and County Registrars

FROM:          Chris Harvey, Elections Division Director

RE:            Allowing More Credentialed Monitors at Risk Limiting Audit
               Allowing Libertarian Party Monitors

______________________________________________________________________

There has been some concern about the appropriate number of political party monitors eligible
to view the audit process. The rules that the Secretary of State’s office put out require that
Superintendents allow a minimum of two political party monitors from each party, with
additional monitors if there are more than twenty audit teams. For example, if DeKalb has 75
audit teams, they would have to allow a minimum of 8 designated monitors for each party.
Additionally, as the Libertarian Party (technically a political body) has a candidate on the ballot
for President, the same standards should be applied to the designated monitors from the
Libertarian Party.

As an addendum to the rules on political parties monitors and because transparency should be
a guiding principle throughout this process, if Election Superintendents can safely allow more
than the minimum number of designated political party monitors consistent with maintaining
an orderly process, space limitations, social distancing/public health guidelines then you should.
Please allow as much transparency as you can while maintaining a secure, orderly process and
abiding your public health regulations.




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